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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA, et al., ex rel.
 OMNI HEALTHCARE, INC.,

                                Plaintiffs,                       No. 18-cv-12558-PBS

 v.

 MD SPINE SOLUTIONS LLC, D/B/A MD LABS
 INC., DENIS GRIZELJ, MATTHEW RUTLEDGE
 AND DOE HEALTHCARE PROVIDERS 1 - 100,

                                Defendants.


        PLAINTIFF-RELATOR OMNI HEALTHCARE, INC.’S CONSENT MOTION FOR
      EXTENSION OF TIME TO RESPOND TO DEFENDANTS’ MOTION TO DISMISS THE
                             AMENDED COMPLAINT

         Pursuant to Rule 6(b) of the Federal Rules of Civil Procedure and Local Rule 7.1(b)(2),

Plaintiff-Relator OMNI Healthcare, Inc. (“OMNI”) respectfully requests that this Court extend

by fourteen (14) days the deadline for OMNI to file its opposition to defendants MD Spine

Solutions LLC, d/b/a MD Labs, Inc., Denis Grizelj and Matthew Rutledge’s (collectively,

“Defendants”) motion to dismiss OMNI’s amended complaint, file May 18, 2022. See ECF #s

84-85. The current deadline for OMNI to file opposition to Defendants’ motion to dismiss is

June 1, 2022. See Local Rule 7.1(b)(2). The requested extension would set a new deadline of June

15, 2022. This is OMNI’S first request for an extension of time to oppose Defendants’ motion.

         Good cause exists to grant this motion. Om April 4, 2022, OMNI filed its amended

complaint. ECF #71. Per Fed R. Civ. P. 15(a)(3), Defendants’ response to the amended

complaint was originally due on April 18, 2022. Defendants requested and OMNI consented to

an additional 30 days for Defendants to respond to OMNI’s amended complaint. See ECF #73.

The Court granted Defendants’ motion for an extension. See ECF #74. OMNI’s requested
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extension would give it an amount of time to oppose Defendants’ motion that is commensurate

with the time Defendants had to prepare the motion.

       Additionally, I, undersigned counsel, am one of the primary attorneys handling the matter

for OMNI. My wife gave birth to our first child last month, so my availability in the next several

weeks is more limited than normal.

       Earlier today, I contacted counsel for Defendants regarding our request for an extension

of time to oppose Defendants’ motion to dismiss the amended complaint. Counsel advised me

that Defendants’ consent to the request.

       For these reasons, we respectfully request that the Court grant this motion and extend the

deadline for OMNI to file an opposition to Defendants’ motion to dismiss OMNI’s amended

complaint by 14 days until June 15, 2022.

May 19, 2022                                          Respectfully Submitted,

                                                      /s/ Thomas M. Kenny______________
                                                      Thomas M. Kenny (pro hac vice)
                                                      SPIRO HARRISON
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                                                      Attorneys for Plaintiff-Relator OMNI
                                                      Healthcare, Inc.
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 19, 2022, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system which will send notification of such filing to all registered

participants identified on the Notice of Electronic Filing (NEF) and paper copies will be sent to

those indicated as non-registered participants on this date.

May 19, 2022                                          /s/ Thomas M. Kenny______________
                                                      Thomas M. Kenny(pro hac vice)
                                                      SPIRO HARRISON
